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July 1, 2019

VIA ECF

Honorable Deborah K. Chasanow
United States District Court

6500 Cherrywood Lane
Greenbelt, Maryland 20770

Re: United States vs. Rona Zhfani
Case No. DKC18-00370

Dear Judge Chasanow:

During sentencing hearing in the above captioned matter you invited the Defendant to
make a post sentencing request for a Bureau of Prisons designation recommendation. Ms. Zhfani
has asked that I requested that the Court recommend that the Bureau of Prisons designate her to
serve her sentence at the Women’s Bureau of Prisons Facility in Danbury, Connecticut.

The Court’s consideration of this request is more appreciated.

Sincerely,
/s/ Robert C. Bonsib
Robert C. Bonsib

RCB/anm
cc: Assistant United States Attorneys Harry Gruber and P. Michael Cunningham (via ECF)
